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UNITED STATES DISTRICT COURT
EASTERNDISTRICT OFLOUISMNA

 

IN RE: XARELTO (RIVAROXABAN)

MDL 2592
PRODUCT LIABILITY LITIGATION '

SECTION L

 

HONORABLE ELDON E. FALLON
This Document Relates to:

ALL CASES MAG. JUDGE NORTH

CASE MANAGEMENT ORDER NO. 10

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ORDER REGARDING THE
REGISTRATION OF XARELTO-
RELATED CASES AND CLAIMS

 

In order for this Court and the cooperating state court jurisdictions with coordinated
proceedings pending in Pennsylvania (In Re Xarelto Litigation, No. 2349, Philadelphia County
Court of Common Pleas), and in Calif`ornia (Xarelto Cases, Judicial Council Coordinated
Proceeding No. 4862, Superior Court of the State of Califomia, County of Los Angeles) to
cooperativer manage this litigation and to assist the Parties to effectuate the provisions of the
private Final Settlement Agreement entered into between, inter alia, the MDL Plaintiffs’
Steering Comrnittee (“PSC”), and Defendants Janssen and Bayer (“Defendants”), it is necessary

to identify all filed and unfiled Xarelto®-related claims:

IT IS HEREBY ORDERED AND DECREED THAT:

l. All counsel for any Xarelo®-related claim pending in this Court and/or counsel
who have any clients Who have claims, filed or unfiled, related to Xarelto® shall (i) identify all
clients with filed and unfiled Xarelto®-related claims regardless of where the case is filed or

where the claimant is located and regardless of the client’s eligibility to join the settlement or

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ultimate decision whether to join the settlement or not by enrolling in the Settlement Program,
(ii) provide the required information set forth below within the prescribed deadlines, including l
identifying all Interested Counsel in each filed case or unfiled claim wherever located, and (iii)
designate the Primary Law Firm and contacts as set forth below. The Registration Declaration,
the forms of Registration Lists, and the Pro Se Affidavit will be made available through the
Claims Administrator in a form materially similar to Exhibit A to this Order.

2. Obligations of Counsel:

A. Service Of Regz'stration List: Counsel representing clients with claims
related to Xarelto® must prepare a Registration Declaration and Registration Lists,
identifying all such clients, whether with filed or unfiled claims, as set out below in Z.B.
and Z.C, using the steps identified at https://www.mdlcentrality.com/md12592. To
comply with this Order, go to that website, click on “Registration” and follow the
instructions The completed Registration Declaration and Registration Lists shall be
submitted to the Claims Administrator (as formatted, for the accurate and efficient
transfer of the required information) no later than the deadlines prescribed below.
UPLOADING THE REGISTRATION DECLARATION AND REGISTRATION
LIST ON THE WEBSITE IN NO WAY SIGNIFIES A CLAIMANT’S
COMMITMENT OR INTENT TO ENROLL IN THE SETTLEMENT

PROGRAM.

B. Informatz'on to be Providea' Regardz'ng Unjz`led Claims and Filed Cases

Within 3 or 15 Days of the Entry of This Registratz'on Order, As Specz'fied:

1. Within three (3) days of the issuance of this Registration Order (i.e.,

March 28, 2019), Counsel shall set forth on the Registration List: (i) the

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identity of every Xarelto®-related claim, wherever situated, in which
counsel has any Interest that was not filed in court before March 11, 2019;
(ii) the identity of the Primary Law Firm and Principal Responsible
Attorney for such claims, and (iii) the following information about each
such claims (a) the Xarelto-user plaintiffs or claimant’s name (and that of
a representative or executor plaintiff if applicable), (b) state of residence,
(c) unique individual identifying information as required by MDL
Centrality, including date of birth and social security number, and (d) the
date of the written retainer agreement with the claimant relating to a

potential Xarelto-related claim,

2. Within fifteen (15) days of the issuance of this Registration Order (i.e.,
April 9, 2019), Counsel shall set forth on the Registration List: (i) the
identity of all filed Xarelto®-related cases wherever filed and all unfiled
Xarelto®-related claims in which counsel has any Interest; (ii) the identity
of the Primary LaW Firm, Principal Responsible Attorney and all
Interested Counsel for such filed and unfiled claims, and (iii) the following
information about each filed and unfiled claim: (a) the Xarelto-user
plaintiffs or claimant’s name (and that of a representative or executor
plaintiff if applicable), (b) state of residence, (c) the current court, venue
and case number, if filed, and (d) unique individual identifying
information as required by MDL Centrality, including date of birth and

social security number..

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3. For each filed case registered pursuant to the preceding two paragraphs,

Counsel shall identify on the Registration List all Xarelto®-related cases

that are pending in this MDL proceeding or in any other federal or state

court or tribunal in the United States in which they serve as the Primary

Law Firrn as of the date of this Order, the identity of the Principal

Responsible Attorney for each filed case and all Interested Counsel for

each filed case, the date of all signed Written retainer agreements relating

to a potential Xarelto claim between any client Who is an unfiled claimant

or one whose case was filed on or after March 11, 2019 and the attorney or

finn with whom the agreement was entered, and the case and claim related

information on the form Registration List.

C. Information to be Providea' Regarding Filed Cases and Unjiled Claims

Within 75 Days of the Entry of This Registration Order:

Within 75 days of the entry of this Registration Order, each Primary Law Firm

shall supplement its Registration List with the following additional claim-related

information for each previously registered Xarelto-related claim, whether filed or unfiled:

(i) the date of the Xarelto®-user plaintiffs or claimant’s first prescription of Xarelto®;

(ii) the date of the first alleged injury or bleeding event claimed to be due to Xarelto® use

as prescribed; (iii) whether the plaintiff or claimant at the time of injury or bleeding event

was taking two other anti-coagulation medicines (prescription and/or OTC) in addition to

Xarelto® (including but not limited to aspirin, Plavix (clopidogrel) or another P2Y12

platelet inhibitor (e.g., prasugrel (Efient, Effient), ticagrelor (Brilinta), and cangrelor

(Kengreal)) regardless of the indication for which they were taking Xarelto®; (iv)

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whether the plaintiff or claimant was on 20 mg of Xarelto for VTE prevention for longer
than six (6) months; (v) the number of consecutive days of hospitalization the plaintiff or
claimant incurred allegedly due to Xarelto® use, (vi) whether the claim pertains to a
Xarelto®§user Who suffered a CVA (i.e., stroke) while taking Xarelto®; and (vii)
whether the claim pertains to a Xarelto-user who died allegedly as a result of taking
Xarelto®. In providing this additional information pursuant to the Registration Order, no
additional claimants may be identified or registered beyond those Plaintiffs and
Claimants disclosed initially in response to the Registration Order unless agreed in

advance by Defendants.

D. The Primary Law Firm shall declare on the Registration Declaration under
oath that (i) all filed cases and unfiled claims relating to Xarelto® in which they are the
Primary Law Firm are identified on the Registration List, (ii) _all Interested Counsel are
identified, and (iii) that the claim-related information, including retention date, is accurate
and complete The Primary Law Firm shall make the same declaration under oath with
respect to the supplemental claim-related information provided'pursuant to Paragraph 2.
C. Counsel shall further certify under oath that they have verified that all cases in which
they have an Interest are, or will be, identified on other Registration Lists submitted by
another Primary Law Firm. If there is any Xarelto®-related claim for any plaintiff or
claimant, whether filed or unfiled in which an attorney bound by this Order has an
Interest and believes is not, or will not be, listed on any Registration List submitted by
any other Primary Law Firm, then such attorney shall include the plaintiff or unfiled

claimant on his or her Registration Lists with the information specified in paragraph 2.B.

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above, and shall state “No Primary Law Firm Designated.” Further, retention agreements

Will be subject to inspection and review by the private Special Master and/or the Court.

E. Due Date For Servl'ce OfRegistratz'on List: The Registration Declarations
and Registration Lists shall be completed in the manner provided by the Claims

Administrator as specified above.

F. Updates Regarding Change in Status: The Primary Law Firm shall serve an
updated Report regarding any` change in status or representation of any Plaintiff or
Unfiled Claimant identified on their Registration List. The updated Report shall be in the
form set by the Claims Administrator. The Report shall be updated on September l,
2019 and fiirther updates as may be required by the Court, and shall be served on the

Claims Adrninistrator who will promptly distribute to Defendants and the PSC.

3. Pro Se Plaintiffs: All persons who represent themselves pro se in these
proceedings with Xarelto®-related claims who wish to participate in the Settlement Program
voluntarily (collectively “Pro Se Plaintiffs” shall complete the Pro Se Registration form which
can be obtained by going to the Claims Administrator website,
https://www.mdlcentrality.com/mdl2592, clicking on “Registration” and following the
instructions The completed Pro Se Registration form shall be submitted to the Claims
Administrator (as formatted, for the accurate and efficient transfer of the required inforrnation)
no later than thirty (30) days after the date this Order is entered, To submit these materials, go to
https://www.mdlcentrality.conr/md12592, click on “Registration” and follow the upload

instructions

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UPLOADING THE PRO SE REGISTRATION FORM ON THE WEBSITE IN NO
WAY SIGNIFIES A PRO SE PLAINTIFF’S COMMITMENT OR INTENT TO ENROLL

IN THE SETTLEMENT PROGRAM.

If the Pro Se Plaintiff is not able to submit the forms electronically, the Pro Se Plaintiff shall
send the Registration Affidavit via U.S. mail postmarked no later than thirty (30) days after the

date this Order is entered to:

Claims Administrator

XR Settlement

P.O. Box 85006

Richmond, VA 23285-5006

A. Updates Regardz'ng Change in Status: All Pro Se Plaintiffs shall serve an

updated Report regarding any change in status of their Xarelto-related claim, and shall
include changes in status and in any required information previously provided. The
updated Report shall be in the form set by the Claims Administrator, and shall be served
on September l, 2019 and February l, 2020. The updated Report shall be served on the

Claims Administrator in the manner previously described

B. Assistance: The PSC will be available to provide assistance With
registration to Pro Se Plaintiffs. The assistance provided by the PSC does not create an
attorney-client relationship and any Pro Se Plaintiffs Who obtain this assistance remain

pro se.

4. Definitions:
` A. “Prz'mary Law F irm ” Defined: “Primary Law Firm” as used herein shall

mean a single designated law firm primarily responsible for obligations relating to the

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Final Settlement Agreement and compliance with any of the Court Orders entered in the
jurisdiction in which the case is pending Such designation shall be included on the
Registration Declaration and the Registration List. The Registration Declaration shall
also include the law firm telephone number, business address, and names and emails of
the Principal Responsible Attomey and an administrative contact at the law firm who will

be handling the case.

B. “Principal Responsible Attorney” Dejined: The Principal Responsible
Attomey is the single attorney jointly identified by the Primary Law Firm and Interested
Counsel by name, state bar number, business address, telephone number, and email
address, who will be primarily responsible to provide notice to the Court and for day to
day communications and activities related to the obligations of those cases identified on
the Registration List submitted with each Registration Declaration of the Primary Law
Firm relating to the Final Settlement Agreement and compliance with any of the Court

Orders entered in the jurisdiction in which the case is pending.l

C. “Interested Counsel" Defl`ned: “Interested Counsel” means any Counsel
(as defined) with an Interest (as defined) in a Person, or in a claim or case of a Person
who has a Claim, filed or unfiled, relating to Xarelto® (as defined). Interested Counsel
and the Primary Law Firm shall jointly be responsible for compliance with any Court

Orders.

 

1 The designation of a Principal Responsible Attomey is not intended to impact in any way the rights or
obligations of all counsel who represent a client, including all counsel who have any financial interest in
the client’s claim. (“Interested Counsel”), nor shall such designation alter the relationship among counsel.
For any filed case or unfiled claim in which multiple firms have been designated as the Primary Law
Firm, any dispute over representation that cannot be resolved by the law firms may be submitted to the
private and independent Special Master under the settlement and affected claims will be stayed pending
review and resolution .

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D. The term “Interest” as used herein shall mean any interest in any case or

claim relating to Xarelto®, whether filed or unfiled, in which counsel: (a) has an

engagement or retainer agreement With such claimant; (b) is listed as the counsel of

record for a Plaintiff in any filed pleadings related to the Xarelto®-related claims, (c) has

entered an appearance for such Plaintiff, or (d) would benefit directly or indirectly from

any payment to settle any claim of such Plaintiff or Claimant related to Xarelto®; or (e)
otherwise has any financial interest of any kind whatsoever in any Xarelto®-related case

or claim,

E. “Counsel” means, with respect to any particular Person, a lawyer and/or

law firm who represents such Person pursuant to a written agreement, or Who has an

Interest in such Person’s Xarelto®-related claim.

F. “Person” means a natural person, partnership (whether general or limited),

limited liability company, trust, estate, association (including any group, organization,

co-tenancy, plan, board, council or committee), corporation, Governmental Authority,

custodian, nominee or any other individual or entity (or series thereof) in its own or any

representative capacity, in each case, Whether domestic or foreign.

G. “Xarelto®-related Claim” or “related to Xarelto®” means to any extent, or

in any way, arising out of, relating to, resulting from and/or connected with the

prescription and use of Xarelto® and/or any personal injury, Wronng death, losses, or

damages caused or claimed to have been caused, in whole or in part, by any such

prescription and use of Xarelto®.

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5. . Changes In Information:

A. Attomey Obligations. The Primary Law Firm shall serve written notice of any
changes to the information provided on the Registration List, including but not limited to
the acquisition or loss of Primary Law Firm status for the case, any change in information
for the Primary Law Firrn, the Principal Responsible Attomey, or administrative contact
for the case, any change in designation of Primary Law Firm status for any case
previously listed as “No Primary Law Firm Designated,” and any other change of any
information verified under oath. If the change is a loss of Primary Law Firm status or
loss of an lnterest in the case, the notice shall also identify name of the attorney and/or
law firm, telephone number, email, business address of the new representative for the
Plaintiff or Unfiled Claimant or, if none, an affirmation of the Plaintiff or Unfiled
Claimant’s pro se status and the telephone number, email and address for the Plaintiff or
Unfiled Claimant. Such written notice must specify the changed circumstances and be
served within 30 days of such change upon the Claims Administrator. This obligation

shall terminate on February l, 2020. t

B. Pro Se Plaintiffs. All Pro Se Plaintiffs shall serve Written notice of any
changes to the information provided on the Registration List, including but not limited to
any change regarding contact information or the subsequent retention of counsel. If the
change of information is the retention of counsel, the Pro Se Plaintiff shall provide the
attorney name, address, telephone number and email address for counsel. Such written
notice must specify the changed circumstances and be served with 30 days of such
change upon the Claims Administrator. This obligation shall terminate on February l,

2020.

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6. Enforcement: All Counsel and Pro Se Plaintiffs are required to comply with this

Order. y
a. FILED CASES. Failure to meet the requirements of this Order will subject the
non-compliant plaintiffs action to dismissal with prejudice after adequate due
process notice and a show cause hearing as to the reason for such failure to
register cases and otherwise comply with this Order and may subject such party or

counsel to other penalties at the Court’s discretion

b. UNFILED CLAIMS. Unfiled claims that are required to be registered under this
Order that are not registered will be subject to dismissalwith prejudice if later

filed,

7. Joint Database: The Claims Administrator shall maintain a database of all cases
and claims identified pursuant to this Order which will be available to Defendants, the PSC,

other counsel as agreed to by the Defendants and the PSC, and the Court, if requested.

8. Cooperation With Other Jurisdictions: This Order is entered in conjunction with
cooperating state court jurisdictions With coordinated proceedings pending in Pennsylvania (In
Re Xarelto Litigation, No. 2349, Philadelphia County Court of Common Pleas), and California
(Xarelto Cases, Judicial Council Coordinated Proceeding No. 4862, Superior Court of the State
of California, County of Los Angeles) It is the intention of this Court to work in cooperation
with these courts in a manner that promotes judicial economy and that secures as complete
registration of all claims, filed and unfiled, as possible, and to share all information obtained in
the registration process amongst the cooperating courts and their leadership counsel. It is also

the intention of this Court to work in cooperation with any other federal or state court or tribunal

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in which Xarelto®-related claims are pending. If there is any dispute concerning the
implementation of this Order, this Court Will coordinate conferral among the Courts for

resolution of the issue, consistent with the law of the various jurisdictions

THIS ORDER REQUIRES COUNSEL TO REGISTER> ALL FILED CASES AND
UNFILED CLAIMS ON BEHALF OF THEIR CLIENTS WITH XARELTO-RELATED
CLAIMS. COMPLYING WITH THIS ORDER DOES NOT MEAN THAT A GIVEN
CASE OR CLAIM IS ELIGIBLE TO PARTICIPATE. IN THE SETTLEMENT
PROGRAM OR THAT AN ELIGIBLE PLAINTIFF HAS DECIDED TO PARTICIPATE.
A SEPARATE ENROLLMENT PROCESS WILL BE ESTABLISHED FOR ELIGIBLE

PLAINTIFFS TO INDICATE THEIR INTENT TO PARTICIPATE.

IT IS SO ORDERED.

Dated: 3//°1\/§// 7 @D @’\/(S W®/\

I-Ion. Eldon E. F\allon

Judge, United States District Court

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